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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

In re:

KING STATE COFFEE LLC,                                       Case No. 8:24-bk-00576-CPM
                                                             Chapter 11 – Subchapter V
         Debtor.
                                      /

                         BAYFIRST NATIONAL BANK’S MOTION
                       FOR RELIEF FROM THE AUTOMATIC STAY

         Creditor, BayFirst National Bank, N.A. (“BayFirst”), by and through its undersigned

counsel, moves this Court pursuant to 11 U.S.C. § 362(d)(1) and (2), and Federal Rule of

Bankruptcy Procedure 4001(a) for the entry of an order modifying the automatic stay to allow

BayFirst to exercise its rights under applicable non-bankruptcy law with respect to the business

assets of the Debtor (the “Personal Property”) and the Debtor’s interest in real property commonly

known as 520 East Floribraska Avenue, Tampa, Florida 33603 (the “Real Property,” and together

with the Personal Property, the “Property”), and in support thereof states as follows:

                                          SUMMARY

         The automatic stay should be lifted to allow BayFirst to exercise its rights against the

Debtor’s Property. This case has now been pending for approximately ten months and both the

Debtor and its creditors, including BayFirst, are in a far worse position than when it began. The

Debtor filed for Chapter 11 due to a lack of revenue attributed to major construction around its

location. When the Debtor filed its petition, it averred that BayFirst’s claims were fully secured

by the Property and refused to pay adequate protection during the case. When it came time to file

its Plan, the Debtor changed course and claimed BayFirst’s collateral is worth substantially less

than it claimed at the outset of the case. The appraisals directly contradict the Debtor’s values.
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Nevertheless, with the road construction issue still not resolved, the Real Property has sustained

substantial hurricane damage and the Debtor has been less than forthcoming about the insurance

claim status. Additionally, the Debtor ceased operations in October 2024 and went so far as to

attempt an unauthorized “going out of business” sale. With the collateral securing BayFirst’s

claims being eroded, and the Debtor’s business having collapsed, BayFirst is entitled to relief from

the automatic stay.

                                JURISDICTION AND VENUE

       1.      The Court has jurisdiction to consider the Motion under 28 U.S.C. §§ 1334 and

157. This matter is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory predicate for the relief requested herein is Section 362(d) of Title 11

of the United States Code, Sections 101, et seq. (the “Bankruptcy Code”).

       3.      On February 2, 2024 (the “Petition Date”), King State Coffee LLC (“Debtor” or

“King State”) filed its voluntary petition for relief under chapter 11 of the Bankruptcy Code.

                                        BACKGROUND

A.     Loan History

       4.      BayFirst, successor to First Home Bank, is a party to that certain SBA Note in the

original amount of $630,000.00 (the “SBA Note”). To secure payment of the SBA Note, on or

about November 21, 2017, King State executed and delivered to First Home Bank a Mortgage and

Security Agreement which was recorded on November 27, 2017, in Official Records Book 25386,

Pages 999-1012, Public Records of Hillsborough County, Florida (the “SBA Mortgage”) which




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encumbers the Real Property. King State also executed and delivered to First Home Bank a

Security Agreement (the “SBA Security Agreement”) concerning the Personal Property. 1

         5.       BayFirst is also a party to that certain Promissory Note in the original amount of

$350,000.00 (the “Second Note”). To secure payment of the Second Note, on or about September

15, 2023, King State executed and delivered to BayFirst a Commercial Security Agreement (the

“Commercial Security Agreement”). 2

B.       The King State Bankruptcy Case

         6.       Based on the Debtor’s schedules filed at the beginning of this case and the Debtor’s

original position that BayFirst was fully secured, the Debtor has not offered and BayFirst has not

received any form of adequate protection during the pendency of this case.

         7.       On February 15, 2024, BayFirst timely filed the following proofs of claim:

                  a. Claim 1-1 for $568,812.82 secured by the Real Property and its blanket lien on
                     all of the Debtor’s Personal Property (“Claim 1”); and

                  b. Claim 2-2 for $347,463.59 secured by the Real Property and its blanket lien on
                     all of the Debtor’s Personal Property (“Claim 2”). 3

         8.       Pursuant to the interim cash collateral order (Doc. No. 26), BayFirst was granted

“a perfected post-petition lien against cash collateral to the same extent and with the same validity

and priority as its prepetition lien, without the need to file or execute any document as may

otherwise be required under applicable non bankruptcy law.” However, BayFirst has received no

post-petition payment, or any other adequate protection, from the Debtor.



1
  True and correct copies of the SBA Note, SBA Mortgage, SBA Security Agreement, and all other documents that
further evidence or secure the SBA Note are attached to Claim 1-1 in this case.
2
  True and correct copies of the Second Note, Commercial Security Agreement, and all other documents that further
evidence or secure the Second Note are attached to Claim 2-2 in this case.
3
  BayFirst amended Claim 2 to clarify that – based on the Secured Indebtedness; Maximum Amount and Time Clause
and the Future Advances Clause of the SBA Mortgage and SBA Security Agreement securing Claim 1, Claim 2 is
also secured by the Real Property based on Florida statutes and case law. See Fla. Stat. § 697.04 and Uransky v. First
Federal Sav. & Loan Ass’n of Fort Myers, 684 F.2d 750, 755-56 (11th Cir. 1982) (applying Florida law).


                                                          3
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        9.      On August 23, 2024, the Debtor filed its Amended Chapter 11 Plan of

Reorganization (the “Plan”) (Doc. No. 76) in which the Debtor provides drastically lower

valuations for the Property and now asserts that BayFirst is partially undersecured.

        10.     Indeed, in the Liquidation Analysis filed in support of the Plan, the Debtor asserts

that the forced liquidation value of its Personal Property is $15,100.00 and the liquidation value of

the Real Property is $500,000.00. See Doc. 76, Ex. C.

        11.     Yet, the Debtor has not offered BayFirst any form of adequate protection and said

creditor is entitled to be protected.

C.      Cessation of Operations, Unauthorized Closing Sale, Property Damage, and
        Insurance Claim

        12.     Upon information and belief, on October 10, 2024, the Real Property was damaged

by Hurricane Milton when the storm downed a tree on the Real Property resulting in a hole in the

building. A true and correct photograph of the damage to the Real Property is attached hereto as

Exhibit A.

        13.     Upon information and belief, as a result of the damage in October 2024, the Debtor

ceased operations because of the property damage. In fact, around October 24, 2024, the Debtor

posted on its Instagram account that it intended to conduct—without notice or Court approval—a

“going out of business” sale before BayFirst intervened. The post has since been removed.

        14.     Upon information and belief, on or about November 8, 2024, the Debtor submitted

a property damage claim to its insurer, Westchester Surplus Lines Insurance Company

(“Westchester”), Policy No. F16263965, which was assigned Claim No. KY24K3037441 (the




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“Claim”). Despite numerous requests, basic information regarding the Claim was not provided to

counsel for BayFirst until November 19, 2024 (the “Claim Email”). 4

        15.      Nonetheless, the Debtor has failed and refused to provide any additional

information on the Claim to BayFirst aside from the Claim date and number.

                                               ARGUMENT

I.      Cause Exists to Grant Stay Relief Pursuant to 11 U.S.C. § 362(d)(1).

        16.      Cause exists to terminate the automatic stay pursuant to § 362(d)(1) of the

Bankruptcy Code on three grounds: (1) the lack of adequate protection of BayFirst’s interest in the

Property, (2) the declining value of the Real Property due to the Debtor’s failure to repair and

maintain the Real Property, and (3) the Debtor’s bad faith in this case.

        17.      Section 362(d)(1) provides “the court shall grant relief from the stay . . . for cause,

including lack of adequate protection in an interest in property of such party in interest.” 11 U.S.C.

§ 362(d)(1).

        18.      “Cause” is not defined in the Bankruptcy Code, but rather is determined on a case-

by-case basis. There are several factors that the Court may consider when determining whether

“cause” exists, including: (1) “whether the debtor has acted in bad faith,” (2) “the hardships

imposed on the parties with an eye towards the overall goals of the Bankruptcy Code,” and (3)

“pending state court proceedings[.]” Baker v. Bank of Am., N.A., No. 20-10780, 2020 WL

7706473, at *8 (11th Cir. Dec. 29, 2020) (citing In re Feingold, 730 F.3d 1268, 1277 (11th Cir.

2013) (citation and quotation marks omitted)); see also In re Ellingsworth Residential Community

Ass’n, Inc., No. 6:20-BK-01346-KSJ, 2020 WL 6803154, at *2 (Bankr. M.D. Fla. Oct. 16, 2020).

        19.      Additionally, the failure to make mortgage payments is one such situation that


4
  A true and correct copy of the email dated November 25, 2024, from Debtor’s counsel to BayFirst’s counsel with
the Claim information is attached hereto as Exhibit B.


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constitutes “cause” for relief from the automatic stay. In re Schuessler, 386 B.R. 458, 480 (Bankr.

S.D.N.Y. 2008); see also In re Three Tuns, Inc., 35 B.R. 110 (Bankr. E.D. Pa. 1983) (secured

creditor was granted relief from stay to foreclose its mortgage on debtor’s real property because

no post-petition mortgage payments had been made). This is especially true when “a debtor lacks

the willingness; the current means; or a realistic, near-present ability to make contractual payments

to the secured creditor.” Id.

       20.     In this case, cause exists for granting BayFirst relief from the stay. Significantly,

the Debtor has not made any payments on the SBA Loan or Second Loan since February 2024. In

addition, the amounts owed under the Loans continue to accrue interest and other fees and expenses

as this case continues without BayFirst receiving any payments. Simply put, cause exists to lift the

stay because the Debtor continues to possess the Property while paying nothing toward what is

owed to BayFirst under the Loan Documents.

       21.     Moreover, cause exists to lift the automatic stay due to the Debtor’s failure to repair

and inability to maintain the Real Property. According to the Hillsborough County Tax Collector’s

website, the 2024 property taxes, which are now due, total $7,881.86 and the Debtor has no funds

to pay the taxes. Nor does the Debtor have the funds to pay future insurance premiums.

       22.     Additionally, Hurricane Milton caused a down tree on the Real Property which

went through the building resulting in a hole. Now, nearly two months later, the Debtor still has

not begun to repair the Real Property or recommenced business operations. BayFirst has not been

provided any information regarding a time table for either repairs to its collateral or reopening of

the business, despite repeated requests for the same.

       23.     Based on the Debtor’s lack of communication and delays in repairing the Real

Property, BayFirst is now concerned that the Debtor may not apply the insurance proceeds from




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the Claim to fix the Real Property. This concern is also based on the Debtor’s prior actions—

including, but not limited to, the attempted unauthorized “going out of business” sale. Indeed, the

only way to ensure that the Real Property is properly repaired and does not deteriorate any further

is for the stay to be lifted to allow BayFirst to take possession of the Real Property and the

insurance proceeds, and complete the necessary repairs.

       24.     Finally, cause exists to lift the automatic stay due to the Debtor’s bad faith. See 11

U.S.C. § 362(d)(1); In re Phoenix Piccadilly, 849 F.2d 1383, 1394 (11th Cir. 1988); In re State

Street Houses, Inc., 356 F.3d 1345 (11th Cir. 2004). This case has now been pending for

approximately ten (10) months and both the Debtor and its creditors, including BayFirst, are now

in a worse position than when the case began. As detailed below, the Debtor’s cash flow continues

to decrease while the value of the Property securing BayFirst’s Claims also remains in jeopardy.

       25.     Accordingly, cause exists for this Court to lift the automatic stay.

II.    Cause Exists to Grant Stay Relief Pursuant to 11 U.S.C. § 362(d)(2).

       26.     Moreover, cause exists to terminate the automatic stay pursuant to § 362(d)(2) of

the Bankruptcy Code since the Property is not necessary for an effective reorganization. In short,

an effective reorganization is not possible in this case.

       27.     Section 362(d)(2) provides that “the court shall grant relief from the stay . . . with

respect to a stay of an act against property under subsection (a) of this section, if—(A) the debtor

does not have an equity in such property; and (B) such property is not necessary to an effective

reorganization.” 11 U.S.C. § 362(d)(2). Both elements of section 362(d)(2) must be satisfied before

relief can be granted. In re 412 Boardwalk, Inc., 520 B.R. 126, 134 (Bankr. M.D. Fla. 2014) (Funk,

J.). “The Movant has the burden of demonstrating that a debtor has no equity, and the debtor has




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the burden of demonstrating that the property is necessary to an effective reorganization.” Id.; see

also 11 U.S.C. § 362(g).

        28.     By the Debtor’s own admission in its schedules, the Debtor’s interest in the Real

Property is worth approximately $700,000, whereas Claims 1-1 and 2-2 demonstrate the total

amount due to BayFirst against the Real Property is $916,276.41. In addition, the Debtor asserts

in its schedules that the Personal Property is worth approximately $373,885.52, whereas Claims

1-1 and 2-2 demonstrate the total amount due to BayFirst against the Personal Property is

$916,276.41.

        29.     The second element of section 362(d)(2) requires the debtor to prove that the

property is necessary for an “effective” reorganization. In re Royal Palm Square Assocs., 124 B.R.

129, 132 (Bankr. M.D. Fla. 1991). A reasonable possibility of a successful reorganization must

exist. In re Pegasus Agency, Inc., 101 F.3d 882 (2d Cir. 1996). This requirement is satisfied where

none of the following is true: (1) “the property has sufficient equity which could be refinanced and

the plan could be funded from a new loan”; (2) “the property will be sold and the sale will produce

sufficient monies to fund the plan of reorganization”; or (3) “the property is unique in character

and it is essential to the survival of the reorganized entity.” Royal Palm, 124 B.R. at 132. None of

these are true in this case.

        30.     Retaining the Property serves no purpose and the Property is not necessary to an

effective reorganization as reorganization is not possible—the Debtor is not operating and is not

generating any revenues. No date to resume operations is known and there is no timetable for

repairs to the Real Property either. Moreover, the root cause the Debtor’s attributed its loss in




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revenue to—construction around the Property—has not resolved and revenues did not improve

prior to the hurricane damage and cessation of operations. 5

          31.    Here, Debtor’s monthly operating reports to date demonstrate negative or minimal

net cash flow and unpaid post-petition obligations before the cessation of operations.

Administrative expenses in this case continue to accrue with no realistic possibility of paying them

either.

                        Document                                         Weekly Net Profit
     Doc. No. 10, p. 25                                          02/02/2024: $4,505.00
     Motion to Use Cash Collateral                               02/09/2024: $3,206.00
                                                                 02/16/2024: $2,363.00
                                                                 02/24/2024: $748.00
     Doc. No. 35, p. 2                                           03/02/2024: -$288.00
     Notice of Filing                                            03/09/2024: 1,407.00
     Second Interim Cash Collateral Budget                       03/16/2024: $2,255.00
                                                                 03/23/2024: $2,285.00
                                                                        Monthly Cash Flow
     Doc. No. 43                                                 Negative Cash Flow
     Monthly Operating Report: February 2024                     -$20,067.00
     Doc. No. 48                                                 Net Cash Flow
     Monthly Operating Report: March 2024                        $17,524.00
     Doc. No. 54                                                 Net Cash Flow
     Monthly Operating Report: April 2024                        $4,640.15
     Doc. No. 66                                                 Negative Cash Flow
     Monthly Operating Report: May 2024                          -$15,440.65
     Doc. No. 68                                                 Net Cash Flow
     Monthly Operating Report: June 2024                         $14,696.50
     Doc. No. 74                                                 Net Cash Flow
     Monthly Operating Report: July 2024                         $9,490.57
     Doc. No. 85                                                 Negative Cash Flow
     Monthly Operating Report: August 2024                       -$12,699.61
     Doc. No. 93                                                 Net Cash Flow
     Monthly Operating Report: September 2024                    $2,098.88
     Doc. No. 102                                                Negative Cash Flow
     Monthly Operating Report: October 2024                      -$16,026.15


5
 According to the Debtor’s Case Management Summary (Doc. No. 4), construction on Floribraska Avenue hurt the
Debtor’s operations and was a reason for the filing of this case. See Case Management Summary, at 1-2. The Debtor
expected the construction to be completed by March 31, 2024. See id. However, according to the City of Tampa
website, the construction project on Floribraska Avenue is still in the procurement phase with a planned end date of
October 31, 2025. See TAMPA.GOV, https://www.tampa.gov/project/trans20026 (last visited Dec. 6, 2024).


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       32.     Similarly, Debtor’s financial projections filed in support of the Plan demonstrate

minimal to negative projected net income month to month and fail to include any monthly

payments to secured creditors. There do not appear to be sufficient funds to successfully

reorganize and keep the Debtor operational, therefore, it is unnecessary for the Debtor to retain the

Property. As such, cause exists for this Court to lift the automatic stay.

       33.     BayFirst further requests that the Court waive the 14-day stay of any order granting

relief from the automatic stay pursuant to Bankruptcy Rule 4001(a)(3) so that BayFirst can recover

the Property without further delay.

       WHEREFORE, BayFirst respectfully requests that this Court enter an order (a) granting

BayFirst relief from the automatic stay to exercise its rights to complete a foreclosure of the Real

and Personal Property through issuance of a certificate of title, and (b) granting such other and

further relief as this Court deems appropriate.

       Dated: December 6, 2024.
                                               /s/ Stephanie C. Lieb
                                               Stephanie C. Lieb, Esq.
                                               Florida Bar No. 0031806
                                               TRENAM, KEMKER, SCHARF, BARKIN, FRYE,
                                               O’NEILL & MULLIS, P.A.
                                               101 E. Kennedy Blvd., Suite 2700
                                               Tampa, FL 33602
                                               Telephone: (813) 227-7469
                                               Email: slieb@trenam.com
                                               Counsel to BayFirst National Bank

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 6, 2024, a true and correct copy of the foregoing
was furnished by CM/ECF to all registered CM/ECF recipients and the Local Rule 1007-2 parties-
in interest, and by first class U.S. Mail, postage prepaid to: King State Coffee LLC, 16703 E Course
Drive, Tampa, FL 33624.

                                               /s/ Stephanie C. Lieb
                                               Stephanie C. Lieb




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Label Matrix for local noticing                        BayFirst National Bank, N.A.                         BayFirst National Bank, NA
113A-8                                                 c/o Stephanie C. Lieb, Esq.                          700 Central Avenue
Case 8:24-bk-00576-CPM                                 101 East Kennedy Boulevard, Suite 2700               Saint Petersburg, FL 33701-3631
Middle District of Florida                             Tampa, Florida 33602-5150
Tampa
Fri Dec 6 10:12:08 EST 2024
Blue Bridge Financial, LLC                             Hillsborough County Tax Collector                    IPFS Corporation
11921 Freedom Drive                                    c/o Brian T. FitzGerald, Esq.                        30 Montgomery Street
Suite 1130                                             Hillsborough County Attorney Office                  Suite 501
Reston, VA 20190-6225                                  P.O. Box 1110, 27th Floor                            Jersey City, NJ 07302-3821
                                                       Tampa, FL 33601-1110

Keg Connect, LLC                                       Nancy C Millan Tax Collector                         Pawee
701 Dr. MLK Jr. St. S.                                 C/O Brian T Fitzgerald, Atty 27th FL                 550 1st Avenue N.
Saint Petersburg, FL 33705-1922                        Po Box 1110                                          Saint Petersburg, FL 33701-3702
                                                       Tampa, FL 33601-1110


SystmatiQ Accounting
Attn: Neeta Hemlall
390 Myrtle Ave
Brooklyn, NY 11205-2411




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(u)Cavoya Coffee                                       End of Label Matrix
                                                       Mailable recipients     9
                                                       Bypassed recipients     1
                                                       Total                  10
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                  EXHIBIT B
                         Case 8:24-bk-00576-CPM                         Doc 105          Filed 12/06/24              Page 15 of 18




From:                                                    Michael Stavros <mstavros@jennislaw.com>
Sent:                                                    Monday, November 25, 2024 2:46 PM
To:                                                      Stephanie C. Lieb
Subject:                                                 FW: Supplemental ACV Payment Breakdown:
                                                         KY24K3037441 | 10113 - WESTCHESTER SURPLUS LINES
                                                         INSURANCE COMPANY
Attachments:                                             HKA Report.pdf; Estimate_1482
                                                         _from_UTF8QASharperImageTreeServiceE28099sInc.pdf;
                                                         Crawford GTS - Structure Estimate - Tree Removal
                                                         Inv.pdf; Statement of Loss_King State Coffee.pdf




Steph,

Attached is what I have received from my client. I was unaware that Nicole did not reach out to you regarding
confirmation, Terresa had mentioned continuing in court and that her office would take care of the motion and
we did not object. I still haven’t heard from them as to any potential objections. Let me know if you want to
discuss later today.

Regards,

                                              Michael Stavros
                                                 A orney
                                               Jennis Morse
                                         606 East Madison Street
                                             Tampa, FL 33602
                                      Email: mstavros@jennislaw.com
                                        Cell Phone: 321-795-8196
                                        Web: www.jennislaw.com

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           Begin forwarded message:
                                                                                 1
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From: "Fry, Richard [CTR]" <Richard.Fry1@chubb.com>
Subject: Supplemental ACV Payment Breakdown: KY24K3037441 | 10113 -
WESTCHESTER SURPLUS LINES INSURANCE COMPANY
Date: November 19, 2024 at 5:13:50 PM CST
To: Tim Mctague <tim@king-state.com>,
"jenmcdonald@merchantinsurancesolutions.com"
<jenmcdonald@merchantinsurancesolutions.com>
Cc: Mike Fichtelberg <Michael_Fichtelberg@us.crawco.com>, David Kee
<David.Kee@us.crawco.com>, Property Reports <propertyreports@chubb.com>


Insured Name:        KING STATE COFFEE LLC
Policy Number:       F16263965
Claim Number:        KY24K3037441
Date of Loss:        10/10/2024
Line of Business:     PROPERTY
Loss Location:       520 EAST FLORIBRASKA, TAMPA, FLORIDA, HILLSBOROUGH COUNTY, UNITED STATES,
33603.
Issuing Company:      10113 - WESTCHESTER SURPLUS LINES INSURANCE COMPANY

Dear Mr. McTague;

Westchester Surplus Lines Insurance Company’s (“Chubb’s”) has completed its factual investigation which
revealed windstorm related damages to the property. We have received the report from HKA Engineering
after they inspected the property, and they confirmed the damages to the property.

The field adjuster prepared an estimate for the ensuing damages based on the report from the engineer.
The estimate included the initial tree removal charges that were approved.

Please review the estimate and please forward any estimates that you obtain that are different then what
we allowed, so that they can be reviewed by the field adjuster.

The covered damages are totals are as follows:
   $28,223.28       Estimate of Covered Damages
    ($626.02)       Less Recoverable Depreciation
    ($318.03)       Less Non-Recoverable Depreciation
   $27,279.23       Net Indemnity
 ($15,000.00)       Less Applicable Deductible
   $12,279.23       Net Claim Due
  ($8,500.00) Less Prior Payment
  $3,779.23 Supplemental ACV Payment

Regarding the withheld recoverable depreciation. Your policy affords replacement cost coverage.
However, for you to be entitled to this coverage you must first demonstrate that the property was
repaired or replaced. This can be demonstrated with a signed contract with start date from your
contractor and copies of invoice, canceled check, or other proof of payment confirming your property’s
replacement. We will review this information with your actual cash value payment and applicable
deductible to issue any balance due.

We would like you to know that acceptance of this check is not a release, nor a waiver of any of your
rights under the policy. Your claim can be re-evaluated and/or re-opened if appropriate. By cashing the

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check that will follow via U.S. Mail, you are not waiving your rights to present claims for additional
damages or pricing concerns related to this loss. If you receive a contractors estimate that is higher than
the provided estimate, please contact us prior to initiating any work.

Field adjuster, Mr. David Kee and yours truly all are and will remain at your service. Please contact us
directly if you have any questions or if there is anything that we may have overlooked.

Please be aware that Chubb reserves all rights with respect to the attached referenced provisions, as
well as all other rights, remedies and defenses under the Policy, at law and in equity. These reservations
include, but are not limited to, the right to amend this communication to address additional coverage
issues as they may arise, based upon the Policy and/or any additional facts that may come to Chubb’s
attention. Nothing contained in this communication, and no action on our part or the part of its agents,
attorneys, employees/contract employees, independent adjusters, or experts engaged on our behalf in
investigating and adjusting your claim, should be construed as an admission of coverage or as a waiver
of any right, remedy or defense that may be available to Chubb.

Thank you once again sir.




Richard Fry
Property Claim Analyst
FL Adjusters License - #W523097-All Lines
                                                     3
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P.O. Box 716
Portland, ME 04104
(404) 905-9875
E: Richard.Fry1@Chubb.com

I strive to take care of all issues and questions directly with you. If you need to speak with my manager, Mr. Dwight
Ennis you can reach him at (404) 905-6029 or via email Dwight.Ennis@Chubb.com

You may also contact our Claims Service Center at (800) 252-4670 for any general inquiries.




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